                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

                                     Court Minutes

DATE:      September 27, 2022
JUDGE:     Pamela Pepper
CASE NO:   2022-cv-1119
CASE NAME: Robin J. Vos v. United States House of Representatives Select Committee
           To Investigate the January 6th Attack on the Capitol, et al.
NATURE OF HEARING:        Status Conference
APPEARANCES:              Edward Greim – Attorney for the plaintiff
                          Paul Brothers – Attorney for the plaintiff
                          Adam Mortara – Attorney for the plaintiff
                          Matthew Fernholz – Attorney for the plaintiff
                          Ashley McNulty – Attorney for the plaintiff
                          Todd Tatelman – Attorney for the defendants
COURTROOM DEPUTY:         Kristine Wrobel
TIME:                     3:08 p.m. -3:27 p.m.
HEARING:                  October 24, 2022, at 1:00 p.m. Central Time
                  AUDIO OF THIS HEARING AT DKT. NO. 14
       The court confirmed with the parties that the defendants had received
the complaint and motion for injunctive relief. The court noted that counsel for
the plaintiff had contacted chambers indicating that the parties had had
preliminary discussions about a briefing schedule for the requested relief.
       The plaintiff’s counsel indicated that the parties had filed stipulations
and proposed orders for a briefing schedule. Defense counsel confirmed that
the parties had stipulated to the following briefing schedule:
       The plaintiff will file his motion for preliminary injunction by the end of
the day on October 4, 2022.
       The defendants will file their response to the plaintiff’s motion by the end
of the day on October 11, 2022.
       The plaintiff will file his reply in support of the motion by the end of the
day on October 14, 2022.
       Counsel for the plaintiff explained that the defendants had agreed not to
enforce the subpoena pending the resolution of the issues before the court, and
the plaintiff had agreed to withdraw his motion for a temporary restraining
order if the court agreed to the proposed briefing schedule.
       The court asked the parties to include in their briefs a discussion of
whether this court has jurisdiction to quash a subpoena issued by a
congressional committee, including whether sovereign immunity bars the suit
and the impact of the Speech and Debate Clause. The court also asked the
parties are to provide the court with the information regarding procedures
applicable to the issuance of a congressional subpoena.
       The court scheduled a hearing for oral arguments on October 24, 2022,
at 1:00 p.m. Central Time. The parties will work with the court’s staff regarding


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the logistics on appearances for the hearing. The court will issue an order that
includes the briefing schedule.




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